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(i) it includes an acknowledgement and representation that the Qualified
Bidder: (i) has had an opportunity to conduct any and ail required due diligence
regarding the Assets prior to making its offer; (ii) has relied solely upon its own
independent review, investigation and/or inspection of any documents and/or the Assets
in making its bid; (iii) did not rely upon any written or oral statements, representations,
promises, warranties or guaranties whatsoever, whether express or implied (by operation
of law or otherwise), regarding the Assets or the completeness of any information
provided in connection therewith or the Auction, except as expressly stated in the Marked
Agreements or the Marked Ancillary Agreements; and (iv) is not entitled to any expense
reimbursement or break-up fee in connection with its bid;

(j) it includes evidence, in form and substance reasonably satisfactory to
Sellers, of authorization and approval from the Qualified Bidder’s board of directors (or
comparable governing body) with respect to the submission, execution, delivery and
closing of the Marked Agreements and Marked Ancillary Agreements;

(k) it is accompanied by a good faith deposit in the form of a wire transfer (to
a bank account specified by the Sellers), certified check or such other form acceptable to
the Sellers, payable to the order of the Sellers (or such other party as the Sellers may
determine) in U.S. Currency in an amount equal to US$27,000,000 to be dealt with as
provided for under “Good Faith Deposit” herein;

(I) it (1) contains full details of the proposed number of employees of the
Sellers (apportioned by jurisdiction) who will become employees of the Qualified Bidder
(save in jurisdictions where employees transfer by operation of law) and any proposed
measures associated with their continued employment and associated with the
employment of all employees who will become employees of the Qualified Bidder, and
(ii) identifies any pension liabilities and assets related to any employees currently covered
under the Nortel Retirement Income Plan who will become employees of the Qualified
Bidder that the Qualified Bidder intends to assume or purchase;

(m) it includes evidence of the Qualified Bidder’s ability to comply with
section 365 of the U.S. Bankruptcy Code (to the extent applicable), including providing
adequate assurance of such Qualified Bidder’s ability to perform in the future the
contracts and leases proposed in its bid to be assumed by the Sellers and assigned or
subleased to the Qualified Bidder, in a form that will permit the immediate dissemination
of such evidence to the counterparties to such contracts and leases;

(n) it contains other information reasonably requested by the Sellers; and
(0) it is received by the Bid Deadline,

The Sellers will determine, in their reasonable business judgment, after consultation with

the Creditors’ Committee, the Bondholder Group and the Monitor, whether to entertain bids for
the Assets that do not conform to one or more of the requirements specified herein and deem
such bids to be Qualified Bids; provided that the Sellers, in evaluating such bids, may not waive
substantial compliance with any items in paragraphs (d), (e), (£), (i)(iv), Gj), (k) or (0) without the

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consent of the Purchaser, Creditors’ Committee, the Bondholder Group and the Monitor;
provided further that such consent shal] not be unreasonably withheld in connection with any bid
that would (1) otherwise fully satisfy the requirements of a Qualified Bid but for a de minimis
failure to comply with those criteria and (2) such non-compliance is cured within twenty-four
(24) hours of the Bid Deadline; and provided further that the Sellers shall give the Purchaser
written notice no later than the later of (x) three (3) Business Days prior to the commencement of
the Auction or (y) 5:00 p.m. (ET) five calendar days prior to the commencement of the Auction
of any determination by the Sellers (subject to the two preceding provisos in this sentence) to
entertain a bid for the Assets that does not conform to one or more of the requirements specified
herein and to deem such bid to be a Qualified Bid (it being understood that such notice shall
include a description of the manner in which the applicable bid deviated from the requirements
set forth herein) or to entertain a bidder for the Assets that has not met one or more of the
requirements set forth under the heading “Participation Requirements” and deem such bidder to
be a Qualified Bidder (it being understood that such notice shall include a description of the
manner in which the applicable bidder deviated from the requirements set forth herein).
Notwithstanding the foregoing, the Purchaser is deemed a Qualified Bidder, and the Purchase
Agreement is deemed a Qualified Bid, for all purposes in connection with the Bidding Process,
the Auction, and the Sale.

The Sellers shail notify the Purchaser and all Qualified Bidders in writing as to whether
or not any bids constitute Qualified Bids (and, with respect to each Qualified Bidder that
submitted a bid other than the Purchaser, whether such Qualified Bidder’s bid constitutes a
Qualified Bid) on the next Business Day after the day that the determination is made; provided
that such notification shal! be given no later than two (2) Business Days following the expiration
of the Bid Deadline. The Sellers shall provide the Purchaser and any Qualified Bidder that has
previously submitted a Qualified Bid with a copy of any Qualified Bid received by the Sellers on
the day that the determination is made that such bid is a Qualified Bid, but in no event later than
the later of (x) 12:00 p.m. (noon) (ET) three (3) Business Days prior to the commencement of the
Auction or (y) 5:00 p.m. (ET) five calendar days prior to the commencement of the Auction.

Aggregate Bids

The Sellers may aggregate separate bids from unaffiliated persons to create one
“Qualified Bid” from one or more “Qualified Bidders”; provided that all bidders, including all
Equity Holders of such bidder shall remain subject to the provisions of 11 U.S.C. § 363(n)
regarding collusive bidding.

Evaluation of Competing Bids

A Qualified Bid will be valued based upon several factors including, without limitation,
items such as the purchase price and the net value (including assumed liabilities and the other
obligations to be performed or assumed by the Qualified Bidder, including any assumed pension
liabilities) provided by such bid, the claims likely to be created by such bid in relation to other
bids, the counterparties to such Transactions, the proposed revisions to the relevant Transaction
documents, other factors affecting the speed, certainty and value of the Transactions (including
any regulatory approvals required to close the Transactions), the assets included or excluded
from the bid, the estimated number of in-scope employees of the Sellers (apportioned by

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jurisdiction), if any, to be offered post-closing employment by the Qualified Bidder and any
proposed measures associated with their continued employment, the transition services required
from the Sellers post-closing, if any, and any related restructuring costs, and the likelihood and
timing of consummating such transactions, each as determined by the Sellers, in consultation
with their advisors, the Creditors’ Committee, the Bondholder Group and the Monitor.

Break-Up Fee

Recognizing the value and benefits that the Purchaser has provided to the U.S. Debtors
and the other Sellers by entering into the Purchase Agreement, as well as the Purchaser’s
expenditure of time, energy and resources, the Sellers have agreed that they will, under the
circumstances set forth in the Purchase Agreement and as set forth in the Bidding Procedures
Order and the Canadian Sales Process Order pay to the Purchaser a break-up fee equal to $25
million (the “Break-Up Fee”) and an Expense Reimbursement (as defined in the Purchase
Agreement and to the extent provided in the Purchase Agreement).

Auction

If the Sellers receive one or more Qualified Bids in addition to the Purchase Agreement,
the Sellers will conduct an auction (the ““Auction”) of the Assets, which shall be transcribed or
recorded on video to the extent required under Delaware local practice, at 9:00 a.m. (ET) on
June 20, 2011, at the offices of Cleary Gottlieb Steen & Hamilton LLP, One Liberty Plaza, New
York, New York 10006 or such other location as shall be timely communicated to all entities
entitled to attend the Auction, which Auction may be cancelled or adjourned, subject to the terms
of the Purchase Agreement. The Auction shall run in accordance with the following procedures:

(a) Only the Sellers, the Purchaser, the Creditors’ Committee, the Bondholder
Group, the Monitor, the Administrators, the French Liquidator (and the advisors to each
of the foregoing), any creditor of the U.S. Debtors or the Canadian Debtors and any other
Qualified Bidder that has timely submitted a Qualified Bid (and the advisors to such
Qualified Bidder), shall attend the Auction in person, and only the Purchaser and such
other Qualified Bidders will be entitled to make any bids at the Auction.

(b) Each Qualified Bidder shall be required to confirm that it has not engaged,
and will not engage, in any collusion with respect to the bidding or the Transactions, and
if such Qualified Bidder is an entity formed for the purpose of acquiring the Assets (or
any portion thereof), each of the Equity Holders of such Qualified Bidder shall be
required to confirm that it has not engaged, and will not engage, in any collusion with
respect to the bidding or the Transactions, such confirmation, in each case, in form and
substance satisfactory to the Sellers in their joint and sole discretion.

(c) At least one (1) calendar day prior to the Auction, each Qualified Bidder who
has timely submitted a Qualified Bid must inform the Sellers whether it intends to attend
the Auction; provided that in the event a Qualified Bidder elects not to attend the
Auction, such Qualified Bidder’s Qualified Bid shall nevertheless remain fully
enforceable against such Qualified Bidder until (i) the date of the selection of the
Successful Bidder at the conclusion of the Auction and (ii) if such Qualified Bidder

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(other than the Purchaser) is selected as an Alternate Bidder (as defined below), the
Alternate Bid Expiration Date. By 12:00 p.m. (noon) (ET) at least one (1) Business Day
prior to the Auction, the Sellers will provide copies of the Qualified Bid or combination
of Qualified Bids which the Sellers believe, in their reasonable business judgment, after
consultation with the Creditors’ Committee, the Bondholder Group and the Monitor, is
the highest or otherwise best offer (the “Starting Bid”) to the Purchaser and all other
Qualified Bidders which have informed the Sellers of their intent to participate in the
Auction.

(d) —_ All Qualified Bidders who have timely submitted Qualified Bids will be
entitled to be present for all Subsequent Bids (as defined below) at the Auction with the
understanding that (i) the true identity of each Qualified Bidder at the Auction (as
described in (f) of the Qualified Bid section above) will be fully disclosed to all other
Qualified Bidders at the Auction, (ii) if such Qualified Bidder is an entity formed for the
purpose of acquiring the Assets (or any portion thereof), the true identity of each of the
Equity Holders of such Qualified Bidder will be fully disclosed to all Qualified Bidders at
the Auction and (iii) all material terms of each Subsequent Bid will be fully disclosed to
all other Qualified Bidders throughout the entire Auction; provided that all Qualified
Bidders wishing to attend the Auction must have at least one individual representative
with authority to bind such Qualified Bidder attend the Auction in person.

(c) The Sellers, after consultation with their counsel and financial advisors,
the Creditors’ Committee, the Bondholder Group and the Monitor, may employ and
announce at the Auction additional procedural rules that are reasonable under the
circumstances (e.g., the amount of time allotted to make Subsequent Bids) for conducting
the Auction, provided that such rules are (i) not inconsistent with these Bidding
Procedures, the Bankruptcy Code, or any order of the Bankruptcy Court, the Canadian
Court or any other applicable court entered in connection herewith, and (ii) disclosed to
each Qualified Bidder at the Auction.

(f) Bidding at the Auction will begin with the Starting Bid and continue, in
one or more rounds of bidding, so long as during each round at least one subsequent bid
is submitted by a Qualified Bidder that (i) improves upon such Qualified Bidder’s
immediately prior Qualified Bid (a “Subsequent Bid”) and (ii) the Sellers determine, in
consultation with their advisors, the Creditors’ Committee, the Bondholder Group and the
Monitor that such Subsequent Bid is (A) for the first round, a higher or otherwise better
offer than the Starting Bid, and (B) for subsequent rounds, a higher or otherwise better
offer than the Leading Bid (as defined below). Each incremental bid at the Auction shall
provide net value to the estate of at least U.S. $5,000,000 over the Starting Bid or the
Leading Bid, as the case may be, provided that the Sellers, in consultation with the
Creditors’ Committee, the Bondholder Group and the Monitor, shall retain the right to
modify the increment requirements at the Auction. After the first round of bidding and
between each subsequent round of bidding, the Sellers shall announce the bid or
combination of bids (and the value of such bid(s)) that it believes to be the highest or
otherwise best offer (the “Leading Bid”). A round of bidding will conclude after each
participating Qualified Bidder has had the opportunity to submit a Subsequent Bid with
full knowledge of the Leading Bid. Except as specifically set forth herein, for the

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purpose of evaluating the value of the consideration provided by Subsequent Bids
(including any Subsequent Bid by the Purchaser), the Sellers will, at each round of
bidding, give effect to the Break-Up Fee and Expense Reimbursement that may be
payable to the Purchaser under the Purchase Agreement as well as any additional
liabilities to be assumed by a Qualified Bidder and any additional costs which may be
imposed on the Sellers.

Selection Of Successful Bid

Prior to the conclusion of the Auction, the Sellers, in consultation with their advisors, the
Creditors’ Committee, the Bondholder Group, the Monitor and the Administrators will (a)
review each Qualified Bid and evaluate each Qualified Bid as set forth in the section titled
“Evaluation of Competing Bids” herein, (b) identify the highest or otherwise best offer or offers
for the Assets received at the Auction (one or more such Qualified Bids, collectively the
“Successful Bid” and the Qualified Bidder(s) making such Qualified Bid, collectively, the
“Successful Bidder”) and (c) communicate to the Purchaser and the other Qualified Bidders the
identity of the Successful Bidder, the Alternate Bidder (as defined below), if any, and the details
of the Successful Bid and Alternate Bid (as defined below), if any. The determination of the
Successful Bid and Alternate Bid by the Sellers, after consultation with the Creditors’
Committee, the Bondholder Group the Monitor and the Administrators, at the conclusion of the
Auction, shall be final subject to approval by the Bankruptcy Court and the Canadian Court.

The Sellers will sell the Assets to the Successful Bidder pursuant to the terms of the
Successful Bid (or, under certain circumstances described herein, the Alternate Bidder) upon the
approval of such Successful Bid by the Bankruptcy Court at the Sale Hearing, approval by the
Canadian Court and receipt of any required approvals of any other applicable court(s).

For the avoidance of doubt, the Sellers shall not consider or support any bid (whether or
not such bid is a Qualified Bid) for any of the Assets received after the close of the Auction.

Sale Hearing

The sale hearing to authorize certain of the Sellers to enter into agreements with respect
to the Successful Bid (the “Sale Hearing”) will be held, in respect of those Sellers that are U.S.
Debtors, before the Honorable Judge Kevin Gross (or any substitute therefor) in the United
States Bankruptcy Court for the District of Delaware, located in Wilmington, Delaware, on a
date to be scheduled by the court and currently proposed as June 30, 2011 at 10:00 a.m, (ET),
in respect of those Sellers that are Canadian Debtors, before the Honourable Mr. Justice Geoffrey
B. Morawetz (or any substitute therefor) in the Ontario Superior Court of Justice, in Toronto,
Ontario and in any other applicable court(s) whose approval is required, as soon as practicable
following the date of the Sale Hearing or with respect to the Canadian Court, in a joint hearing
with the Bankruptcy Court at the Sale Hearing. The Sale Hearing and any hearings of any other
applicable court(s) to approve the entering into agreements with respect to the Successful Bid,
may be adjourned or rescheduled by the Sellers without further notice by an announcement of
the adjourned date at the Sale Hearing or, in the case of an adjournment of a relevant hearing of
any other applicable court, at such hearing. If the Sellers receive one or more additional
Qualified Bid(s), then, at the Sale Hearing and at any other hearings of any other applicable

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court(s) to approve the entering into agreements with respect to the Successful Bid, the Sellers
will seek approval of the Successful Bid, and, at the Sellers’ election, the next highest or best
Qualified Bid (the “Alternate Bid” and, such Qualified Bidder, the “Alternate Bidder”, it being
understood that in no event shall the Purchase Agreement be deemed an Alternate Bid or the
Purchaser deemed an Alternate Bidder without its consent, in its sole discretion). The Sellers’
presentation to the Bankruptcy Court, the Canadian Court and any other applicable court(s)
whose approval the Sellers reasonably determine in good faith is legally required or appropriate,
of the Successful Bid, and, if applicable, the Alternate Bid will not constitute the Sellers’
acceptance of either of such bids, which acceptance will only occur upon the latest approval of
such bids to be delivered by the Bankruptcy Court at the Sale Hearing, the Canadian Court and
any other applicable court(s) whose approval the Sellers reasonably determine in good faith is
legally required or appropriate. Following approval of the Sale to the Successful Bidder, if the
Successful Bidder fails to consummate the Sale for any reason, then the Alternate Bid will be
deemed to be the Successful Bid and the Sellers will be authorized, but not directed, to effectuate
a Sale to the Alternate Bidder subject to the terms of the Alternate Bid of such Alternate Bidder
without further order of the Bankruptcy Court, the Canadian Court or any other court. The
Alternate Bid shall remain open until the earlier of (a) July 12, 2011, unless, prior to such date,
the North American Sellers and NNUK have delivered written notice to the Alternate Bidder that
the transaction contemplated by the Successful Bid will not occur and the North American
Sellers intend to consummate the transaction contemplated by the Alternate Bid, in which case
the terms of the Alternate Bid shall! be enforceable and shall govern or (b) the consummation of
the Sale to the Successful Bidder (the “Alternate Bid Expiration Date”). All the Qualified Bids
other than the Successful Bid and the Alternate Bid shall be deemed rejected by the Sellers on
and as of the date of approval of the Successful Bid and the Alternate Bid by the Bankruptcy
Court, the Canadian Court and any other applicable court(s) whose approval is required, as
indicated above.

Good Faith Deposits

Other than with respect to the Purchaser, whose Good Faith Deposit shall be treated in
accordance with the terms and conditions of the Purchase Agreement, the Good Faith Deposit of
any Alternate Bidder shall be retained by the Sellers until the Alternate Bid Expiration Date and
returned to the Alternate Bidder within five (5) Business Days thereafter or, if the Alternate Bid
becomes the Successful Bid, shall be applied to the purchase price to be paid by the Alternate
Bidder in accordance with the terms of the Alternate Bid. The Good Faith Deposits of Qualified
Bidders not selected as either the Successful Bidder or Alternate Bidder shall be returned to such
Qualified Bidders within five (5) Business Days of the date of the selection of the Successful
Bidder and the Alternate Bidder. The Good Faith Deposit of the Successful Bidder will be dealt
with in accordance with the terms of the Successful Bid.

Reservation Of Rights

The Sellers, after consultation with their advisors, the Creditors’ Committee, the
Bondholder Group and the Monitor, and their respective advisors, (a) after each round of bidding
at the Auction may determine which Qualified Bid, if any, is the highest or otherwise best offer
and the value thereof, (b) may reject, at any time, any bid (other than the Purchaser’s initial bid)
that is (i) inadequate or insufficient, (ii) not in conformity with the requirements of the

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Bankruptcy Code, the Bidding Procedures, any orders of the Canadian Court or any other orders
applicable to one or more Sellers, or the terms and conditions of the Sale, (iii) contrary to the
best interests of the Sellers, their estates, and stakeholders as determined by the Sellers in
consultation with the Creditors’ Committee, the Bondholder Group and the Monitor or

(iv) contrary to the statutory duties or legal obligations of the Administrators in relation to the
exercise of their duties or functions as administrators of certain EMEA Sellers, and (c) except as
otherwise specifically set forth herein, may modify the Bidding Procedures or impose, at or prior
to the Auction, additional customary terms and conditions on the Sale of the Assets.

Notwithstanding any of the foregoing, or anything else contained herein, the Sellers may
not, without the prior written consent of the Creditors’ Committee, the Bondholder Group, the
Administrators and the Monitor, which consent may not be unreasonably withheld, (i) extend the
Bid Deadline for more than five (5) Business Days beyond June 13, 2011, (ii) adjourn the
Auction for more than three (3) Business Days, or (iii) subject to the availability of the
Bankruptcy Court and the Canadian Court adjourn the Sale Hearing for more than three (3)
Business Days if the Auction has concluded; provided that the Sellers shall give the Purchaser
written notice within one (1) Business Day after any such action (it being understood that such
notice shall include a description of the action taken).

Each of the foregoing actions shall be made by the Sellers in consultation with the
Creditors’ Committee, the Bondholder Group and the Monitor, and their respective advisors. For
the purposes of these Bidding Procedures and all matters relating to them, the Administrators are
acting only as agents for and on behalf of the EMEA Sellers that are controlled by the
Administrators pursuant to the UK Proceedings and without personal liability and the French
Liquidator is acting only as agent for and on behalf of NNSA without personal liability.
Notwithstanding the foregoing, the Sellers may not, without the prior written consent of the
Purchaser, impair or modify the Purchaser’s rights and obligations hereunder or under the
Purchase Agreement, including Purchaser’s rights with respect to the timing of the Auction and
the Sale Hearing, or the Purchaser’s right to credit the Break-Up Fee and Expense
Reimbursement as part of any subsequent bids.

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Schedule “B”

(License Objection Notice Parties)

The License Objection Notice Parties are as follows:

(a)

(b)

(c)

(d)

(f)

(g)

(h)

counsel to the U.S. Debtors: Cleary Gottlieb Steen & Hamilton LLP, One Liberty
Plaza, New York, New York 10006, Fax: (212) 225-3999 (Attention: James L.
Bromley and Lisa M. Schweitzer) and Morris, Nichols, Arsht & Tunnell LLP,
1201 North Market Street, Wilmington, Delaware 19801, Fax: (302) 658-3989
(Attention: Derek C. Abbott),

counsel to Ranger Inc.:

(i) Wachtell, Lipton, Rosen & Katz, 51 West 52nd Street, New York, NY
10019, Fax: (212) 403-2000 (Attention: Philip Mindlin, Adam O.
Emmerich and Benjamin M. Roth), and

Gi) Torys LLP 79 Wellington Street West, Suite 3000, Box 270, TD Centre,
Toronto, Ontario, MSK 1N2, Fax: (416) 865-7380 (Attention: Michael
Rotsztain and Adam Slavens)

counsel to the Committee: Akin Gump Strauss Hauer & Feld LLP, One Bryant
Park, New York, New York 10036, Fax: (212) 872-1002 (Attention: Fred
Hodara, Stephen Kuhn and Kenneth Davis) and Richards, Layton & Finger, P.A.,
One Rodney Square, 920 North King Street, Wilmington, Delaware 19801
(Attention: Christopher M. Samis),

counsel to the Bondholder Group: Milbank, Tweed, Hadley & McCloy, One
Chase Manhattan Plaza, New York, New York 10006, Fax: (212) 822-5735
(Attention: Roland Hlawaty),

counsel to the Canadian Debtors, Ogilvy Renault LLP, Attn: Jennifer Stam, Royal
Bank Plaza, South Tower, Suite 3800, 200 Bay Street, Toronto, Ontario, Canada,
Facsimile: (416) 216-3930,

the Monitor: Ernst & Young Tower, 222 Bay Street, P. O. Box 251, Toronto, ON
M5K 1J7 Canada (Attention: Sharon Hamilton) Fax: (416) 943-3300

counsel to the Monitor, Goodmans LLP, Attn: J.A. Carfagnini and Joseph
Pasquariello, Bay Adelaide Centre, 333 Bay Street, Suite 3400, Toronto, ON
MS5H 287, Facsimile: (416) 979-1234, and

the Office of the United States Trustee, 844 King Street, Suite 2207, Wilmington,
Delaware 19801, Fax: (302) 573-6497 (Attention: Patrick Tinker)

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